Case 8:22-mj-00718-DUTY Document 7 Filed 11/14/22 Pagelof1 Page ID#:27

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UNITED STATES DISTRICT COURT Gas eeia ERIE EL OA
! Y
CENTRAL DISTRICT OF CALIFORNIA ey ate
CASE NUMBER:
UNITED STATES OF AMERICA 4 ;
ce PLAINTIFF | &- 2 2 - M|- 00718 - DUTY
Vaiun Aggarwa | REPORT COMMENCING CRIMINAL
ACTION
USMS# DEFENDANT

 

 

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1. The defendant was arrested in this district on | | / Y / 2 2} at O | 0 ram [] PM

or
The defendant was arrested in the District of on at [|] AM[] PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or

any other preliminary proceeding: [] Yes {No
3. Defendant is in U.S. Marshals Service lock-up (in this court building): tes ["] No
4. Charges under which defendant has been booked:
(9 USC Yl and 1B USC BY 3
5. Offense charged is a: [felony [] Minor Offense [] Petty Offense [-] Other Misdemeanor

6. Interpreter Required: [No [] Yes Language:

 

7. Year of Birth: | q 8 |

8. Defendant has retained counsel: No

[] Yes Name: Phone Number:

 

 

9. Name of Pretrial Services Officer notified: DUT

10. Remarks (ifany): \/\ / ~

11. Name:\t City ol Ine Ayan (please print)

12. Office Phone Number: ( 03 ) (004 -25Q2 tk keene fF E|

14. Signature: ( () YW 15. Date: (G83 WI/14¥/22

 

 

CR-64 (09/20) REPORT COMMENCING CRIMINAL ACTION
